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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
TAMARA REAVIS,                                   )
                                                 )
           Plaintiff,                            )
                                                 )
    v.                                           )        No. 4:19CV2916 HEA
                                                 )
SAINT LOUIS COUNTY, MISSOURI, et                 )
al.,                                             )
                                                 )
           Defendants.                           )


                    CASE MANAGEMENT ORDER - TRACK 2: STANDARD

      Pursuant to the Civil Justice Reform Act Expense and Delay Reduction Plan and the

Differentiated Case Management Program of the United States District Court of the Eastern

District of Missouri, and the Joint Proposed Scheduling Plan filed by the parties.

      IT IS HEREBY ORDERED that the following schedule shall apply in this case, and will

be modified only upon a showing of exceptional circumstances:

      I.       SCHEDULING PLAN

      1.       This case has been assigned to Track 2 (Standard).

       2.     All motions for joinder of additional parties or amendment of pleadings shall be
filed no later than June 1, 2020.

      3.       Disclosure shall proceed in the following manner:

              (a) The parties shall make all disclosures required by Rule 26(a)(1), Fed. R. Civ.
P., no later than March 31, 2020.

             (b) Plaintiff shall disclose all expert witnesses and shall provide the reports
required by Rule 26(a)(2), Fed.R.Civ.P., no later than September 4, 2020, and shall make
expert witnesses available for depositions, and have depositions completed, no later than
October 2, 2020 . Plaintiff shall disclose all rebuttal experts no later than December 18, 2020
and shall make rebuttal experts available for depositions, and have depositions completed, no
later than January 29, 2021.

            (c)    Defendant shall disclose all expert witnesses and shall provide the reports
required by Rule 26(a)(2), Fed. R. Civ. P., no later than November 6, 2020, and shall make
expert witnesses available for depositions, and have depositions completed, no later than
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December 4, 2020 . Defendant shall disclose all rebuttal experts no later than December 18,
2020 and shall make rebuttal experts available for depositions, and have depositions completed,
no later than January 29, 2021.

           (d) Each party will be allowed to take depositions and will be allowed to
propound interrogatories to the other.

             (e)    Requests for physical or mental examinations of parties pursuant to Rule 35,
Fed. R. Civ. P. are not anticipated.

              (f)      The parties shall complete all discovery in this case no later than January 8,
2021.

             (g) Motions to compel shall be pursued in a diligent and timely manner, but in
no event filed more than eleven (11) days following the discovery deadline set out above.

       4.    This case shall be referred to alternative dispute resolution on August 3, 2020, and
that reference shall terminate on October 2, 2020.

      5.     Any motions to dismiss, for summary judgment or motions for judgment on the
pleadings must be filed no later than March 8, 2021. Opposition briefs shall be filed no later
than April 8, 2021 and any reply brief may be filed no later than April 22, 2021.

       In the event dispositive motions are filed prior to the above specified date, the opposing
party shall file a response twenty-one (21) days after the filing of the dispositive motion. A
reply may be filed seven (7) days after the filing of the response.

      No later than twenty-one (21) days preceding the deadline for completion of discovery,
any party may request in a written motion that the Court hold a supplemental conference to
discuss issues of scheduling and management of the action. WHETHER TO GRANT SUCH
A REQUEST IS A MATTER FOR THE COURT’S DISCRETION.

        II.   ORDER RELATING TO TRIAL

     This action is set for a JURY trial on August 2, 2021, at 09:30 AM. This is a 1-week
docket.

        Pursuant to Local Rule 8.04 the court may tax against one or all parties the per diem,
mileage, and other expenses of providing a jury for the parties, when the case is terminated or
settled by the parties at a time too late to cancel the jury attendance or to use the summoned
jurors in another trial, unless good cause for the delayed termination or settlement is shown.

       In this case, unless otherwise ordered by the Court, the attorneys shall, not less
than fourteen (14) days prior to the date set for trial:

         1.       Stipulation: Meet and jointly prepare and file with the Clerk a JOINT Stipulation of all
uncontested facts, which may be read into evidence subject to any objections of any party set forth in
said stipulation (including a brief summary of the case which may be used on Voir Dire).

         2.         Witnesses:



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                 (a)     Deliver to opposing counsel, and to the Clerk, a list of all proposed witnesses,
identifying those witnesses who will be called to testify and those who may be called.

                 (b)     Except for good cause shown, no party will be permitted to call any witnesses
not listed in compliance with this Order.


          3.      Exhibits:

                  (a)     Mark for identification all exhibits to be offered in evidence at the trial
(Plaintiffs to use Arabic numerals and defendants to use letters, e.g., Pltf-1, Deft.-A, or Pltf Jones-1, Deft
Smith-A, if there is more than one plaintiff or defendant), and deliver to opposing counsel and to the
Clerk a list of such exhibits, identifying those that will be introduced into evidence and those that may be
introduced. The list shall clearly indicate for each business record whether the proponent seeks to
authenticate the business record by affidavit or declaration pursuant to Fed.R.Evid. 902(11) or 902(12).

                   (b)      Submit said exhibits or true copies thereof, and copies of all affidavits or
declarations pursuant to Fed.R.Evid. 902(11)or 902(12), to opposing counsel for examination. Prior to
trial, the parties shall stipulate which exhibits may be introduced without objection or preliminary
identification, and shall file written objections to all other exhibits.

                 (c)     Except for good cause shown, no party will be permitted to offer any exhibits
not identified or not submitted by said party for examination by opposing counsel in compliance with
this Order. Any objections not made in writing at least seven (7) days prior to trial may be considered
waived.

          Effective February 1, 2017, Judge Autrey is piloting a new Jury Evidence System (JES) for jury
trials.

        The JES will allow jurors to review evidence (documents, photos, and/or video exhibits) on a
large LED touchscreen monitor in the jury room during deliberations.

        If a request is made by the jury to review admitted exhibits, by using the JES, jurors can more
closely view evidence, control playback of video evidence, and zoom in on photographic evidence as
needed from the jury deliberation room.

        Attorneys will be requested to provide digital copies to the Deputy Clerk of any exhibits that
have been admitted during trial. The Clerk will then load the specified exhibits into the JES for jurors to
have access to during deliberation.

        Documents should be saved in Microsoft word format or PDF, photos should be saved as JPEG,
and videos should be saved as WMV, or MP4.

          4.      Depositions, Interrogatory Answers, and Request for Admissions:

                 (a)      Deliver to opposing counsel and to the Clerk a list of all interrogatory answers
or parts thereof and depositions or parts thereof (identified by page and line numbers), and answers to
requests for admissions proposed to be offered in evidence. At least seven (7) days before trial, opposing
counsel shall state in writing any objections to such testimony and shall identify any additional portions
of such depositions not listed by the offering party which opposing counsel proposes to offer.

                (b)      Except for good cause shown, no party will be permitted to offer any
interrogatory answer, or deposition or part thereof, or answer to a request for admissions not listed in
compliance with this Order. Any objections not made as above required may be considered waived.


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         5.       Instructions: Submit to the Court and to opposing counsel their written request for
instructions and forms of verdicts reserving the right to submit requests for additional or modified
instructions at least seven (7) days before trial in light of opposing party’s requests for instructions.
(Each request must be supported by at least one pertinent citation.) The parties shall prepare a USB flash
drive with their instructions and shall have the flash drive available for any modifications of instructions.

         6.      Trial Brief: Submit to the Court and opposing counsel a trial brief stating the legal and
factual issues and authorities relied on and discussing any anticipated substantive or procedural
problems.

         7.      Motions in Limine: File all motions in limine to exclude evidence at least fourteen (14)
days before trial. Responses or objections to any motion in limine must be filed at least seven (7) days
before trial. Any response or objection not made as above required may be considered waived.

     Failure to comply with any part of this order may result in the imposition of sanctions.

       Dated this 11th day of February, 2020.


                                                        ________________________________
                                                          HENRY EDWARD AUTREY
                                                        UNITED STATES DISTRICT JUDGE




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